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                IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                        8:04CR262
                              )
          v.                  )
                              )
BRANDY K. BRENTON,            )                          ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to strike the government’s answer to defendant’s motion under 28

U.S.C. § 2255 (Filing No. 166).         The Court finds the motion

should be denied.       Accordingly,

           IT IS ORDERED that defendant’s motion to strike the

government’s answer is denied.

           DATED this 1st day of April, 2009.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
